                        UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN (Detroit)

In re:                                            Case No. 22-44659-mlo
Eric D. Hughes and                                Chapter 13
Laura Johnson-Hughes                              Hon. Maria L. Oxholm
                   Debtors.
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 ORDER RESOLVING OBJECTION TO CHAPTER 13 PROOF OF CLAIM NO. 8 OF
                      CITIMORTGAGE, INC.

       NOW COMES CitiMortgage, Inc. (“Creditor”), by and through its attorneys Trott Law,
P.C., and Eric D. Hughes and Laura Johnson-Hughes (“Debtors”), by and through their attorney,
Berman & Bishop, PLLC, along with the Chapter 13 Trustee, Tammy L. Terry (“Trustee”), with
respect to the property located at 45594 Bristol Cir., Novi, MI 48377-3888, having stipulated to
an agreement to resolve Debtors’ Objection to Chapter 13 Proof of Claim No. 8 of CitiMortgage,
Inc. as follows:


        IT IS HEREBY ORDERED:
       1. The Proof of Claim of CitiMortgage, Inc., Claim No. 8, is allowed.
       2. The total pre-petition arrearage owed to CitiMortgage, Inc. as of June 10, 22, is
           $134,979.41.
       3. The total debt owed to CitiMortgage, Inc. as of June 10, 2022, is $365,007.36.
       4. The account was de-escrowed on January 18, 2023.
       5. As a result of the account no longer being escrowed, the Class 4.1 claim of
           CitiMortgage, Inc. consisting solely of principal and interest, shall be $1,265.08 per
           month, effective with the June 1, 2022, payment.

Signed on February 27, 2023




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